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                                                          Law Offices of
                             Shapiro, DiCaro & Barak, LLC
                                                   175 Mile Crossing Boulevard
                                                   Rochester, New York 14624
                                                              (585) 247-9000
                                                            FAX (585) 247-7380


April 27, 2018

Honorable Cecelia G. Morris
United States Bankruptcy Court
355 Main Street
Poughkeepsie, NY 12601


In re:           Charles B. Starr and Rina L. Starr f/k/a Rina L. Oakes
                 Chapter 13
                 Case Number: 17-35855-cgm
                 SD&B File Number: 14-038424


Dear Judge Morris:

This letter confirms that the Motion for Relief from Stay filed in the above-referenced
bankruptcy case by Nationstar Mortgage LLC [Doc No. 45] scheduled for May 1, 2018 at 11:00
AM is hereby withdrawn.

If you have any questions, please do not hesitate to contact the undersigned.

Very truly yours,


/s/Nicole Kolczynski________
Nicole Kolczynski




cc:      Debtor
         Charles B. Starr
         126 Cemetary Road
         Germantown, NY 12526

         Joint Debtor
         Rina L. Starr f/k/a Rina L. Oakes
         126 Cemetary Road
         Germantown, NY 12526


                                                     ATTORNEYS AT LAW
                                                                ________
                             Nicole Kolczynski, Associate Attorney                  Direct (585) 247-9000
                                                                ________

            LONG ISLAND OFFICE   One Huntington Quadrangle, Suite 3N05   Melville, NY 11747   PHONE (631) 844-9611   FAX (631) 844-9525
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       Attorney for Debtor
       Gregory T. Dantzman, Esq.
       One Civic Center Plaza, Suite 403
       Poughkeepsie, NY 12601

       Attorneys for TD Bank, N.A.
       Lisa Milas, Esq.
       Schiller, Knapp, Lefkowitz & Hertzel LLP
       950 New Loudon Road, Suite 109
       Latham, NY 12110

       Trustee
       Krista M. Preuss, Esq.
       Chapter 13 Standing Trustee
       399 Knollwood Road
       White Plains, NY 10603

       U.S. Trustee’s Office
       74 Chapel Street
       Albany, NY 12207
